Case 1:03-cv-02494-RJL Document 1-1 Filed 12/03/03 _ Page 1 of 9
gt 3 CO C) Gary Scurka, Producer
‘ : oO . | ~-Winner-
Columbia duPont Silver
Baton
The Polk Award
Investigative Reporters &
"Editor's
Tom Renner Award
Two Time Recipient IRE
Medallion
The National Headliners

FOTA REQUEST The Nawal Press Cab
June 26, 2003 Avrard

& 10 time
Ref.:# #FN-1 Emmy Award Winner

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FOIA Officer
Department of the Army a Ed Caraballo, Producer
Attn: Commander 5 time Emmy Award Winner
US Army Special Operations Command

Fort Bragg, NC 28307

Dear Sir or Madam,

This is an immediate request for records under thé Freedom of Information Act (5 USC
§552- “FOIA” laws) of the United States of America. We are journalists currently
working on a story of public interest.

We area media organization and request a waiver of fees for this request because
disclosure of the requested information is in the public interest because it is likely to
contribute significantly to the public interest of DOD operations, and is not in a
commercial interest. However, we are willing to pay any fees associated with the request.
Please notify us in writing if our waiver is turned down, and/or if the fees associated with
this request exceed $100.

The following information is requested under the FOIA Statutes, regarding the long
distance/toll phone calls of the following persons or persons associated or working with
those persons;

Major Gary M. Kolb, USASOC Public Affairs Office,

Major Gowan, USASOC Public Affairs Office,

Major Scott Stearns, USASOC Public Affairs Office, 02 9
Brian Sutton, USASOC Public Affairs Office, & 2494
Major Kathieen Culp, USASOC |

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acceptable on diskette or CD.in any format that can be read by Microsoft Word. ...
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646/244-9535 Phone * admin@pbnnews.tv email US. DISTRICT COURT

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The Following are each individual FOIA requests;

1. I request all copies of all phone records or appropriate documents that detail the long
distance telephone calls made to the following numbers from the USASOC, USASF
and/or USA JFKSWC Public Affairs Office, or any of the individuals named above for
the period of November 1, 2001 until October 30, 2002, and from February 1, 2003
until the present date:

YR POOR Rr ArT hog mo ae op

Beginning with the area code and prefix: 212, 312, or 706

212/398-8726.
706/545-9624
706/687-5978
818/372-6002
818/716-9494

818/903-9945

732/541-7733
732/541-8663
401/521-9558
202/824-6385
877/704-1354

. 877/709-1354

202/824-6499
202/824-6363
813/827-4885
202/419-0474
212/301-3075
212/391-4818

Thank you for your assistance.

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Ed Carabalio
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er C) Gary Scurka, Producer -
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Columbia duPont Silver
Baton
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westigative Reporters &
" Editor’ pe
Tom Renner Award
Two Time Recipient IRE
Medallion
The National Headliners

FOIA REQUEST The Natond Pres Cub
June 27, 2003 Award

& 10 time
Ref. #FN-2 Emmy Award Winner

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wot blank everytime

FOIA Officer
Department of the Army . . Ed Caraballo, Producer
Attn: Commander 5 time Emmy Award Winner
US Army Special Operations Command

Fort Bragg, NC 28307 .

Dear Sir or Madam,

This is an immediate request for records under the Freedom of Information Act (5 USC
§552- “FOIA” laws) of the United States of America. We are journalists currently
working on a story of public i interest.

We are a media organization and request a waiver of fees for this request because
disclosure of the requested information is in the public interest because it is likely to
contribute significantly to the public interest of DOD operations, and is not ina
commercial interest. However, we are willing to pay. any fees associated with the request.
Please notify us in writing if our waiver is turned down, and/or if the fees associated with
this request exceed $100.

The following information is requested under the FOIA Statutes, regarding the long
_ distance/toll phone calls of the following persons or persons associated or working with
those persons;

Chief Warrant Officer Larry Plesser

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acceptable on diskette or CD in any format that can be read by Microsoft Word.

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Case 1:03-cv-02494-RJL Document 1-1 Filed 12/03/03 Page.4 of 9

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The Following are each individual FOLA requests;

i. Lrequest all copies of all phone records or appropriate documents that detail the long
distance telephone calls made to the following numbers from 910/432-6164 (CW4
Larry Plesser) for the period of November 1, 2001 until October 30, 2002, and from
February 1, 2003 until the present date:

Beginning with the area code and prefix: 212, 312, or 706
212/398-8726
706/545-9624
706/687-5978
818/372-6002
818/716-9494
818/903-9945
732/541-7733
732/541-8663
401/521-9558
202/824-6385
877/704-1354
. 877/709-1354
202/824-6499
202/824-6363
813/827-4885
202/419-0474
212/301-3075
212/391-4818

YR OU OS grr Tm re me ae op

Thank you for your assistance.
Sincerely,

Ed Caraballo
PBN News

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© - gti: cg . . C} Gary Scurka, Producer

-Winner-

Columbia duPont Silver
Baton
The Polk Award

Investigative Reporters. &

"8 Editor’ _

Tom Renner Award

Two Time Recipient IRE

Medallion

FOIA REQUEST re a
June 28, 2003 The National Press Club

Ref. #EN-3 ime

FOIA Officer . Emmy Award Winner
Department of the Army

Attn: Commander

US Army Special Operations Command
Fort Bragg, NC 28307

Ed Caraballo, Producer
5 ame Emmy Award Winner

Dear Sir or Madam,

This is an immediate request for records under the Freedom of Information Act (5 USC
§552- “FOIA” laws) of the United States of America, We are journalists currently
working on a story of public interest.

We are a media organization and request a waiver of fees for this request because
disclosure of the requested information is in the public interest because it is likely to
contribute significantly to the public.interest of DOD operations, and is not in a
commercial interest. However, we are willing to pay any fees associated with the request.
Please notify us in writing if our waiver is turned down, and/or if the fees associated with
this request exceed $100.

To save the. costs and workload associated with reproduction, electronic copies are .
acceptable on diskette or CD in any format that can be read by Microsoft Word.

The below FOIA information is requested regarding, related to, or in reference to;

Major Gary M. Kolb, USASOC Public Affairs Office,
Major Robert Gowan, USASOC Public Affairs Office,
Major Scott Stearns, USASOC Public. Affairs Office,
Brian Sutton, USASOC Public Affairs Office, :

Major Kathleen Culp, USASOC-

Fox News and employees thereof,

Joe Cafasso, and, .

Edward. Artis.

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The Following are each individual FOIA requests;

1. All releasable personnel files and employment information, to include all complaints
and reprimands in their personnel files and any other documents releasable by law,
relating to: Major Gary M. Kolb, Major Rob Gowan, and Major Kathleen Culp, CW5_
Larry Plesser, (each of which are personnel in USASOC or subordinate commands).

2. Copies ofall documents faxed, mailed, or emailed from, OR to, OR in possession of:
Major Gary Kolb, Major Rob Gowan, Major Kathleen Culp, and/or the USASOC
Public Affairs Offices; which pertain to, or mention:

Robin Moore, aka Robert L. Moore;

Any Matters involving Keith Idema;

Any matters regarding Edward Artis; _

Any matters regarding Joseph Cafasso;

Any matters regarding Robert C. Morris;

Any matters, regarding FOX News, or any employee thereof:

Any matters regarding al-Qaida (al-Qaeda) terrorist training tapes —
The Random House. book, THE HUNT FOR BIN LADEN:

Smo ae op

3. Ail documents, faxes, emails, or other records. pertaining to, or mentioning the name of,
or in reference to: J. Keith Idema, Jonathan Idema, Jack Keith Idema, or Jack Idema, or
the Random House book, THE HUNT FOR BIN LADEN.

Thank you for your assistance.

Singerely,
CLOG,
Ed Caraballo
PBN News

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Case 1:03-cv-02494-RJL. Document 1-1 Filed 12/03/03 Page 7 of 9

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Nee! ~ Gary Scurka, Producer
-Winner-
Columbia duPont Silver
Baton
The Polk Award
Investigative Reporters 8
Editor’s
Tom Renner Award

FOIA REQUE ST Two Time Recipient IRE

The National Headlin
June 29, 2003 ae

Ref, #FN-4 _ The National Press Club
FOIA Officer Award
& 10 ume
Department of the Army . Emmy Award Winnes
Attn: Commander
US Army Special Operations Command . Ed Caraballo, Producer

Fort Bragg, NC 28307 - . 5 time Emmy Award Winner

Dear Sir or Madam,

This is an immediate request for records under the Freedom of Information Act (5 USC
§552- “FOIA” laws) of the United. States of America. We are journalists currently.
working on a story of public interest. We also request that no email be destroyed or
deleted until such time as this request is complied with, or until such time as the entire
appeal process is completed in the event that any request is denied.

We are a media organization and request a.waiver of fees for this request. because
disclosure of the requested information is in the public interest because it is likely to
contribute significantly to the public interest. of DOD operations, and is not in a
commercial interest. However, we are willing to. pay any fees associated with the request.
Please notify us in writing if our waiver is tured down, and/or if the fees associated with
this request exceed 5 100.

To save the costs and workload associated with reproduction, electronic copies are
acceptable on diskette or CD in any format that can be read by Microsoft Word.

The below FOIA information is requested regarding, related to, or in reference to;

Major Gary M. Kolb, USASOC Public Affairs Office,
Major Gowan, USASOC Public Affairs Office,
Major Scott Stearns, USASOC Public Affairs Office,
Brian Sutton, USASOC Public Affairs Office,

Major Kathicen Culp, USASOC.

Fox News and employees thereof,

Joe Cafasso, and/or, Edward Artis.

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Case 1:03-cv-02494-RJL Document 1-1 Filed 12/03/03 , Page 8 of 9

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Seeiae” cul

The Following are each individual FOTA requests;

1. [request ail copies of any and all e-mails sent to or received from any USASOC e-mail
account, (as wells as any and all documents), official or unofficial, for the period of
November 1, 2001 until the present date, that were received from, were directed to,.
were sent to, or were copied to or from the following individuals: .

Madeline klosterman@foxnews.com

Linda. vester@foxnews.com
Joe.cafasso@foxnews.com
Paulina.krycinski@foxnews.com

Robert Motris
Robert.morris@benning.army.mil.
Robert.morris@knox.army.mil
Agentx@gnat.net

Rob Gowan

Robert.gowan@us.army.mil
Robert.gowan@soc.mil (or other soc email address)
Kathieen Culp
_Kathleen.rebecca.culp@us.army.mil .
Kathleen.rebecca. culp@soc.mil (or other soc email address)
Gary M. Kolb

Gary -kolb@us.army.mil

Gary.kolb @soc.mil (or other soc email address)
Edward Artis

Knightsbrg@aol.com

Knightsbridge@aol.com

Joe Cafasso

Poppingsmoke@aol.com

Aipha235@aol.com

Dave Kildee

Dkildee@yahoo.com

Timothy Connolly

Connolly @peabody-sherman.org

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Rick Thomas

Dianne Brandi

Chris Silvestri

Linda Vester

Bret Baier

Tony Snow

Kim Hume

Brit Hume

John Moody. _-

Kevin McGee:

Roger Ailes

Jonathan Wachtel -
“Desantis” (an employee of FOX News)
Larry Plesser

Jimmy Dean
Nuffer@compuserve.com |
Sfahq@aol.com
Sgtbaggy@worldnet.att.net

*eoeos?ee#8e6ee?8e08 64080 ¢e¢0¢8 @# 6 #@

Thank you for your assistance.

Sincerely,
to

Ed Caraballo

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